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IN THE UNITED STATES DISTRICT COURT aes anes,
DISTRICT OF MASSACHUSETTS Corer Tl Py pa
) Nerney
) vod Cip
NICHOLAS A. RITROVATO, II] )
)
Plaintiff )
)
v. ) Civil Action No. 23-10820-DJC
)
COMMONWEALTH OF MASSACHUSETTS )
To the attention of the Attorney General’s office )
)
Defendant )
)
)
MPLAINT FOR D E
DICIAL F MASSA ETT

Comes now Plaintiff, Nicholas A. Ritrovato, III, pro se and his complaint against the
Commonwealth of Massachusetts an amended complaint in a matter of the constitutionality of
Mass. Gen. L. c. 140 Section 131 and in the application of the law by the Commonwealth and the
Somerville Police Department.

THE PARTIES

Plaintiff, Nicholas A. Ritrovato, III, is a Citizen of the Commonwealth of Massachusetts from
2006 through present and a resident of Somerville, MA; and between August 2000 and October
2006 a resident and Citizen of California; there before a citizen of the Commonwealth of
Massachusetts; Mr. Ritrovato is a natural born citizen of the United States of America.

2.

Defendant, the Commonwealth of Massachusetts is a state in the Union of the United States
of America.
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Whereas the attorney general's office of the Commonwealth of Massachusetts’ Government
Bureau in The Administrative Law Division defends against legal challenges to the state statutes on
matters of constitutionality plaintiff included the office and address of the attorney general as the
Commonwealth’s address when naming only the Commonwealth of Massachusetts as the defendant

in the matter.

STATEMENT OF JURISDICTION AND VENUE
4.

Federal courts are courts of limited jurisdiction (limited power); Under 28 U.S.C. § 1331, a case
arising under the United States Constitution is a federal question case.

5.

The second amendment and the 14t amendment to the Constitution of the United States of
America:

Second Amendment: A well regulated Militia, being necessary to the security of a free State,
the right of the people to keep and bear Arms, shall not be infringed. 14th Amendment
Section 1 ...No State shall make or enforce any law which shall abridge the privileges or
immunities of citizens of the United States; nor shall any State deprive any person of life,
liberty, or property, without due process of law; nor deny to any person within its
jurisdiction the equal protection of the laws.;

both at issue in the complaint.
6.

Mr. Ritrovato being currently a citizen and resident of Massachusetts and the United States
of America jurisdiction and venue is conferred upon the United States District Court District of
Massachusetts.

FACUTAL ALLEGATIONS
COMMON TO ALL CLAIMS FOR RELIEF

7.

Mr. Ritrovato, a natural born citizen of the United States of America was denied a license to
carry a firearm for a stated reason(s) of an inaccurate form submission among others by Somerville
Police Department on September 3, 2008 and again on December 28, 2022 the text of the letters are
included in the following paragraphs 8 & 9.
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Application Denial #1
September 3, 2008

09/03/2008

NICHOLAS A RITROVATO
9 WESLEY PARK
SOMERVILLE, MA 02143
Denial of LTC

Dear Mr. RITROVATO:

Please be advised that your application for a license to carry (LTC) firearms, pursuant to the
provisions of M.G.L. c. 140, § 131, is hereby: “ denied

The reason(s) for this denial is:

/ you have been convicted as an adult or adjudicated a youthful offender or delinquent child, in the
Commonwealth or any other state or federal jurisdiction for the commission of:

/ amisdemeanor punishable by imprisonment for more than two years;
/ you completed the application form untruthfully;

As a result of this denial you shall, in accordance with M.G.L. c. 140, § 129D, without delay, deliver
or surrender to the licensing authority where you reside your licenses to carry, and all firearms,
large capacity feeding devices, rifles, shotguns and ammunition which you have in your possession,
or which are owned by you. Failure to do so is a criminal offense. These items may be transferred
from you to a licensed dealer, or to another person who may lawfully take possession of such items,
but only after said items are surrendered to the licensing authority.

You have the right to appeal this decision within 90 days to the District Court with appropriate
jurisdiction. Please contact us at any time if you have any questions concerning this matter.

Sincerely,
PAUL R. TRANT
CAPTAIN

cc: Commissioner of Probation
One Ashburton Place, Room 405, Boston, MA 02108
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Application Denial #2
December 28, 2022

12/28/2022
NICHOLAS A RITROVATO
9 WESLEY PARK
SOMERVILLE, MA 02143

RE: Denial of Your Resident Class A Large Capacity License to Carry Firearms Application
Dear Massachusetts Firearms License Applicant:

As required by Massachusetts law, you are hereby notified that your application for a license to
carry firearms has been denied in accordance with the provisions in M.G.L. c. 140, §131.

The reason(s) for this action is/are as follows:

You completed the application form untruthfully. You failed to disclose an arrest for
OUI on question #4 and you also failed to disclose a previous application that was
denied on question #13.

In accordance with M.G.L. c. 140, § 129D, you are required to turn in to the police department in the
city/town in which you reside, without delay, your firearms license(s) and all firearms, rifles,
shotguns, machine guns, large capacity feeding devices, and ammunition which you have in your
possession or which are owned by you.

Failure to do so is a criminal offense.

You may transfer any of your firearms, rifles, shotguns, machine guns, large capacity feeding
devices, and ammunition to another person who can lawfully take possession of these items, but
only after you surrender them to the police department.

Finally, you have the right to appeal this denial within 90 days to the District Court with
appropriate jurisdiction.

Please contact us any time if you have any questions concerning this matter.

JAMES M. DONOVAN

CAPTAIN
SOMERVILLE PD

cc: Commissioner of Probation
One Ashburton Place, Room 405, Boston, MA 02108
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10,

Mr. Ritrovato’s responses on the application form in July/August 2008 may have prompted
the denial on the first application. He indicated that he had a driving under the influence incident in
California. When, in fact, the matter was only of civil infraction under DMV regulations in California
and any criminal matters were the subject of an order to vacate. The form submission resulted in a
denial as documented in the above paragraph #8. The Somerville Police Department (SPD) learned
of that fact and informed Mr. Ritrovato that he would have to correct this on subsequent
submission.

11.

Mr. Ritrovato, per the instructions, on the second submission in November 2022, wrote a
cover letter telling SPD a little about himself where he cited his public service and education. Mr.
Ritrovato stated that he had completed the application incorrectly and was informed of that fact
and was submitting a corrected form on the application. The subsequent submission resulted in a
denial on December 28, 2022.

LEGAL CLAIMS
12,

The following inclusion from Massachusetts General Law - Part I, Title XX, Chapter 140,
Section 131, Licenses to Carry Firearms: Conditions and Restrictions is both (1) prima facie in
substance; and (2) in application statewide and by Somerville Police Department unconstitutional
since it infringes upon the rights of the people of Massachusetts and the United States to keep and
bear Arms. Depriving or denying the people of Massachusetts of the right to keep and bear arms
also violates the 14th Amendment to the Constitution of the United States of America. (see
attachment Massachusetts General Law - Part I, Title XX, Chapter 140, Section 131)

DAMAGES
13.

The Commonwealth of Massachusetts denied Mr. Ritrovato of his second amendment right
to bear arms and his 14th amendment right to equal protection under the law including state laws.

14.

Mr. Ritrovato, a natural born citizen of the United States of America was denied a license to
carry a firearm in the Commonwealth of Massachusetts on September 3, 2008 and again on
December 28, 2022.
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iS.

In addition, Mr. Ritrovato sustained damages of fees and out-of-pocket expenses and denial
ofa license to carry a firearm. Mr. Ritrovato applied for a license to carry a firearm for all lawful
purposes of which defense of life and property is included. Mr. Ritrovato has been subject to several
property compromises in the concurrent licensure denial period(s) for which he has pursued civil
cause of action to recover.

16.

Striking the law from the books of the Commonwealth would address Mr. Ritrovato’s injury.
An order to issue a license to carry a firearm would restore his second and 14 amendment rights.
The courts award of treble damages for fees and out of pocket expenses would be consistent with
Massachusetts General Law regarding the people and the people's expectations in paying fees for
services such as licensing.

PRAYER FOR RELIEF
WHEREFORE, Plaintiff, pro se respectfully requests the following relief be granted:

(a) That the United States Court in the District of Massachusetts would declare the law
[Massachusetts General Law - Part I, Title XX, Chapter 140, Section 131]
unconstitutional prima facie in substance, and in application and send the legislature
back to the drawing board on licensing;

(b) That the United States court order the Commonwealth of Massachusetts and Somerville
Police Department to issue a license to carry a firearm to the plaintiff restoring Mr.
Ritrovato’s second and 14th amendment rights;

(c) That the court order the recovery of out-of-pocket expenses in an amount equal to
treble damages (totaling 900 bucks) consisting of licensing fees and state safety course
fees.

(d) That the court facilitate resolution of the several property law recovery cases that Mr.
Ritrovato has brought before the court.

This i davot (MAY 2023

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Signature of Plaintiff A) le : QL se

 

 

Printed Name of Plaintiff Nicholas A. Ritrovato, III
Signature of Attorney LL ea wi. ZZ
Printed Name of Attorney Nicholas A. Ritrovato, III pro’se

Bar Number pro se
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Name of Law Firm pro se

Street Address 9 Wesley Park, Somerville
State and Zip Code MA, 02143

Telephone Number 617-764-5181

Mobile Telephone Number 617-767-2056
E-mail Address nicholas_ritrovato@yahoo.com

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Address of the Plaintiff

Nicholas A. Ritrovato, III

9 Wesley Park

Somerville, MA 02143

(617) 767-2056
nicholas_ritrovato@yahoo.com

Address of Defendant

The Commonwealth of Massachusetts, United States of America
to the attention of attorney general's office: Andrea Joy Campbell
1 Ashburton Place

Boston, Suffolk County,

MA 02108

(617) 727-2200
